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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
JOHN DOE,
         Plaintiff,                               Case No. 18-cv-00649
                                                  Hon. Paul Maloney
v.                                                Magistrate Judge Ray Kent
AQUINAS COLLEGE and AQUINAS
COLLEGE BOARD OF TRUSTEES and
KEVIN KWIATKOWSKI,
STEPHEN BARROWS, KEVIN QUINN,
SANDY HARLEY, THAD SALTER, and
HEATHER QUAKENUSH,
as agents for AQUINAS COLLEGE,
jointly and severally,

       Defendants.
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                           PLAINTIFF’S RESPONSE TO
                        DEFENDANTS’ MOTION TO DISMISS




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                                        INTRODUCTION

         In the academic setting, in Title IX proceedings, accused males, including Plaintiff, John

Doe, are being denied basic due process, impartiality, and fair investigations, hearings, and

appeals. Unfortunately, educational institutions, like Defendant Aquinas College, are not leaving

sexual assault investigations to the police and criminal justice system with their related procedural

protections, and instead, are adjudicating the sex lives of students—most of whom are living

without parental oversight for the first time—without providing the accused fair protections.

Worse yet, private colleges, unbound from due process protections under the Constitution, are

failing to adhere to their own policies, depriving accused students—who pay significant sums in

tuition, room, and board—of a reasonably fair disciplinary process, constituting a material breach

of contract. Here, Plaintiff’s life was irreparably damaged when his accuser, Jane Roe, more than

eight months after the alleged event, claimed that she was too drunk to consent when the two had

sex during orientation their freshman year of college.

         Despite the length in time between the event and the accusation, Plaintiff’s vehement and

consistent testimony that he engaged in consensual sex with his accuser, Plaintiff passing a

polygraph exam, and witness statements that corroborated Plaintiff’s version of the events,

Defendants found Plaintiff responsible and expelled him from the College. The investigator the

College assigned, Defendant Kevin Kwiatkowski, displayed bias against Plaintiff because of his

gender, including telling Plaintiff’s parents that he believed women do not make allegations of

sexual assault unless they are true. He failed to include all exculpatory evidence in his report,

included conclusions prohibited under the College’s policies, and included a witness statement

that was later redacted.




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         Had Defendants, including the Judicial Hearing Board (“JHB” or “Board”)—comprised of

Defendants Sandy Harley, Thad Salter, and Heather Quakenbush—actually reviewed the facts,

they would have found that Roe’s roommate and other witnesses all claimed that Roe was capable

of consenting to sexual activity that night. Furthermore, Plaintiff’s unwavering story—supported

by a polygraph—is that Roe had around three shots of flavored vodka for the entire night and

stopped drinking more than an hour before engaging in sexual activity with Plaintiff. According

to every witness there that night, Roe was ambulatory, coherent, fully functional, and showed no

signs of intoxication to the point of incapacitation. Roe, who gave several inconsistent statements

regarding her memory of the events, is the only one present that night who claims that she was too

drunk to engage in consensual sex.

         Defendants also deprived Plaintiff of a fair hearing. Prior to the hearing, Defendants only

gave Plaintiff one (1) hour to review Kwiatkowski’s investigative interviews with Roe, ten (10)

separate witness statements, and other evidence from the investigation. Additionally, although he

requested it several times, Plaintiff was denied access to Roe’s initial statement in December 2016

and the final Investigative Report that was provided to the Judicial Hearing Board prior to the

hearing. He was only able to view information from December 2016 and the Investigative Report

after the hearing and his expulsion when he requested a copy of his educational records under

FERPA. Finally, at the hearing, Plaintiff could not directly cross-examine his accuser or any other

witness and could not even face Roe as a physical barrier was placed between Plaintiff and Roe at

the hearing. The hearing was limited to one (1) hour total and was cutoff ten (10) minutes early

without explanation.

         As a result, Defendants denied Plaintiff a fair and impartial investigation and hearing in

violation of Title IX, Aquinas’ own policies, and Plaintiff’s contractual relationship with



                                                  2
 
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Defendants. Defendant Stephen Barrows, Defendant Kevin Quinn, and the Board of Trustees

subsequently refused to recognize the flagrant violations of Plaintiff’s rights and upheld the

Judicial Hearing Board’s decision to expel Plaintiff from Aquinas College. As such, Defendants

have violated Title IX, breached their contract with Plaintiff, and acted negligently. Therefore,

Defendants’ Motion to Dismiss should be denied.

                                   STATEMENT OF FACTS

A.       Background

         In August 2016, Plaintiff began freshman orientation at Aquinas College. (Compl. at ¶ 36)

His third day on campus, on or about August 19, 2016, Plaintiff first met Jane Roe (“Roe”) and

her roommate (“Roommate”). (Id. at ¶¶ 5-6) After meeting while walking on campus, Plaintiff,

Roe, and Roommate went to Plaintiff’s dorm room. (Id. at ¶¶ 38-44) Once there, Plaintiff poured

two shots of alcohol—one for Roe and one for Roommate—but did not consume any alcohol

himself. (Id. at ¶ 45) Roe and Roommate each consumed about three shots of flavored vodka over

a forty-five (45) minute period. After that forty-five (45) minute period, neither Roe nor Roommate

consumed any more alcohol in Plaintiff’s presence that night. (Id. at ¶ 46)

         After some time at the dormitory, Plaintiff, Roe, and Roommate left the dormitory together

in an effort to find a party but were unable to. (Id. at ¶ 53) While out, they ran into Witness 2

(“W2”), who would later recall that Roe was capable of walking on her own and was not too drunk

to function. (Id. at ¶¶ 53, 145) Around 11:30 p.m., Plaintiff, Roe, and Roommate decided to go

back to Roe and Roommate’s room, and W2 left. (Id. at ¶ 54) Once there, Roommate informed

Plaintiff and Roe that she was going to leave to go to her boyfriend’s. (Id. at ¶ 55) Roe told

Roommate that she should not have sex with her boyfriend. (Id. at ¶ 56) Roommate responded that

she would not have sex with her boyfriend if Roe did not have sex with Plaintiff. (Id.) Roommate



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would later state this “pact” was more of a joke because she knew Roe wanted Plaintiff to spend

the night with her. (Id.) Roommate would also state that she noticed Roe had been flirting with

Plaintiff and that the two seemed likely to engage in sexual activity that night, which is the reason

she left to go to her boyfriend’s. (Id. at ¶ 7) 

         After Roommate left, Plaintiff continued talking with Roe. (Id. at ¶ 57) Around 11:45, Roe

sent a Facebook friend request to Plaintiff. (Id. at ¶ 58) Around midnight, Roe said she was going

to get ready for bed. (Id. at ¶ 59) She went to the bathroom and returned wearing nothing but her

bra and underwear. (Id.) She invited Plaintiff to stay with her for the night. (Id. at ¶ 60) Plaintiff

offered to sleep in Roommate’s bed, but Roe said she did not know if Roommate would like that

and that Plaintiff should sleep in her bed. (Id. at ¶ 61) Roe then asked Plaintiff to give her a kiss

goodnight, and the two engaged in consensual sex. (Id. at ¶¶ 62-67) At all times, Roe actively

participated in the sexual encounter—in fact, she initiated it—and was coherent. (Id. at ¶¶ 68, 77)

At all times relevant hereto on August 19, 2016, Roe was awake and alert. (Id. at ¶ 76) She was

coherent, able to walk on her own, and fully functional. (Id.)

         Although Plaintiff made attempts to contact Roe after August 19th because he was

interested in dating her, she never responded. (Id. at ¶ 75) Plaintiff assumed that Roe was not

interested in seeing Plaintiff again and stopped trying to contact her. (Id.)

B.       More Than Eight Months Later, Roe Falsely Accuses Plaintiff of Sexual Assault and
         Defendants Begin Their Inadequate and Biased Investigation

         More than eight (8) months later, on or about April 26, 2017, Plaintiff received a Campus

No-Contact Order from Defendant Kevin Kwiatkowski, the College’s Director of Campus Safety,

ordering him to have no further personal contact or communication with Roe. (Id. at ¶ 78) On or

about May 3, 2017, Plaintiff was shocked to receive notice that he had been accused of sexually

assaulting Roe. (Id. at ¶¶ 79-80) Specifically, Roe alleged that she was too drunk to recall what

                                                   4
 
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happened on August 19th.1 (Id. at ¶ 92) Roe also claimed that Plaintiff had followed her around at

orientation activities on August 20th, had constantly tried to contact her after August 19, 2016, and

had been showing everyone a photograph of her topless—although she admitted to not seeing the

photograph herself.2 (Id. at ¶ 93) Yet Plaintiff has received no indication that Roe ever went to the

police or sought medical attention related to the incident despite her claiming that she was bruised

and bleeding the next morning. (Id. at ¶ 11) Roe also posted a picture on Instagram the day after

the incident of her with Roommate where the two of them are smiling, and there is no visible

bruising on Roe in the picture.3 (Id.) Moreover, Plaintiff did not have and has never had a topless

photograph of Roe. (Id. at ¶ 94) He does, however, have a photograph of Roe and Roommate

kissing his cheek from August 19th.4 (Id. at ¶ 95) Plaintiff also could not have followed Roe on

August 20th as he did not attend the morning orientation activities that day, and he made no effort

to contact Roe after around September 1, 2016. (Id. at ¶ 96) 



                                                            
1
  Under Aquinas’ policy, sexual assault is defined as “Any sexual act directed against another
person, forcibly and/or against that person’s will; or not forcibly or against the person’s will where
the victim is incapable of giving consent . . . .” (Id. at ¶ 81) Consent is defined as, “the freely,
affirmatively communicated willingness to participate in sexual activity, expressed by words or
unambiguous actions.” (Id. at ¶ 82) Furthermore, “Consent may never be obtained . . . if the
victim is mentally or physically disabled or incapacitated, including through the use of
drugs or alcohol.” (Id. at ¶ 83) Aquinas defines a mentally incapacitated person as one who “is
rendered temporarily incapable of appraising or controlling his or her conduct due to the influence
of a narcotic, anesthetic, or other substance administered to that person without his or her consent,
or due to any act committed upon that person without his or her consent.” (Id. at ¶ 85)
2
  Under the Student Conduct Code:

              Harassment is considered a violation of College policy when it has the purpose or
              effect of demonstrating disregard for the rights of or respect for others; when it
              shocks the sensibilities of the average person; or when it occurs after a warning that
              such communication or behavior is considered offensive.

(Id. at ¶ 91)
3
  Plaintiff provided this picture to Defendants as part of the investigation. (Id. at ¶ 109)
4
  Plaintiff also provided this picture to Defendants as part of the investigation. (Id. at ¶ 95) 
                                                               5
 
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              The College assigned Kwiatkowski as the Investigator into Roe’s allegations against

Plaintiff. (Id. at ¶ 99) Contrary to Title IX and Aquinas’ policies, Kwiatkowski’s investigation was

inadequate and biased, including him overstepping his role as an information gatherer and ignoring

the evidence exonerating Plaintiff and crediting Roe’s inconsistent statements. (Id. at ¶ 12) During

the initial meeting to discuss the complaint, Kwiatkowski stated to Plaintiff’s parents that it has

been his experience that “women do not make these allegations unless they are true”. (Id. at ¶ 102)

Furthermore, on information and belief, Kwiatkowski is an alumnus of Aquinas College and

personally knew Roe’s mother who attended the College at the same time, which he never

disclosed. (Id. at ¶ 101) Yet, under Aquinas’ policy and Title IX, the investigator must be neutral.

(Id. at ¶ 103)

              On or about July 21, 2017, Plaintiff received a Notice of Title IX Hearing, informing him

that the investigation had concluded, the Judicial Hearing Board (“JHB” or “Board”) had reviewed

the Investigative Report, and the Board determined that a hearing should be scheduled to address

the charges of sexual assault and harassment against Plaintiff. (Id. at ¶ 115)

C.            Kwiatkowski’s Investigative Report Contains Several Red-Flags

              While he was denied access to review it prior to the hearing, Plaintiff later learned that

Kwiatkowski’s Investigative Report includes a conclusion that there were excerpts from interviews

that provide a preponderance of the evidence standard to support Roe’s claim. (Id. at ¶ 118) The

“excerpts” pertained to the amount of alcohol Roe alleged that she consumed, ignoring all

contradictory witness statements and other evidence, including Plaintiff’s polygraph report.5 (Id.)



                                                            
5
 During the course of the investigation, Plaintiff submitted himself to a highly invasive four-hour
polygraph exam by a highly regarded examiner who determined that Plaintiff was truthful in
answering all questions, including that he did not force Roe to have sex with him and that Roe was
not incapacitated in any way. (Id. at ¶¶ 112-14)
                                                               6
 
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       Moreover, there was a copy of a drink chart and several calculations from on-line Blood

Alcohol Content (“BAC”) calculators from which Kwiatkowski concluded, “Ms. Complainant

[Roe] would be at best impaired but most likely intoxicated based on above.” (Id. at ¶ 119) There

was no indication, based on the charts, that Roe would have been incapacitated. (Id.) The

“Analysis” in the Investigative Report also stated:

       Based on personal interviews of the Complainant [Roe] and [Plaintiff] and
       numerous witnesses, for both the Complainant and Respondent, it is apparent that
       the Complainant was in a vulnerable state due to alcohol provided by (Plaintiff) on
       8/19/16.

(Id. at ¶ 120) (emphasis added) Furthermore, the Investigative Report contained a “conclusion” in

which Kwiatkowski wrote:

       It is my consideration that there is sufficient evidence for this matter to proceed
       within the policies and procedures regarding student conduct at Aquinas College.
       It is my opinion that the Complainant was not able to provide consent based on
       alcohol consumption.

(Id. at ¶ 121) (emphasis added) Yet, Aquinas’ Sexual Assault Policy states, “The investigator

prepares a written summary of the evidence. The summary is limited to facts and does not contain

conclusions or credibility determinations.” (Id. at ¶ 122) Although Kwiatkowski should not have

made any conclusions or credibility determinations, the conclusions and credibility determinations

he made are not even supported by the evidence presented. (Id. at ¶ 123) 

       There were additional flaws in Kwiatkowski’s investigation. Kwiatkowski was aware of

and had access to allegations Roe initially raised against Plaintiff in December 2016. (Id. at ¶¶

124-25) When Roe first accused Plaintiff of any misconduct in December 2016, she claimed she

was off-campus when Plaintiff gave her a lot of alcohol. (Id. at ¶ 154) She then claimed that she

“blacked out,” and she heard from other students that Plaintiff had assaulted her. (Id.) She had no

independent recollection of an alleged assault and stated she was okay. (Id.) This statement from



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December 2016 contradicts her later statement to Kwiatkowski. Roe would later claim to

remember some details of what happened on August 19, 2016. (Id. at ¶ 155) In her first statement,

Roe could not recall how many shots she had, but in her second statement, she claimed to recall

having at least three shots before drinking out of the bottle. (Id. at ¶ 152) Roe initially could not

recall who allegedly carried her on the way back from an alleged party, but in her second statement,

she claimed she recalled Plaintiff carrying her. (Id.) Roe initially claimed that after returning from

an alleged party,6 the rest of the night was a blur, but in her second statement, she recalled going

to the dorm room with Roommate, Roommate leaving for her boyfriend’s, and Plaintiff getting

into bed with her. (Id.) And in her first statement, Roe could not recall anything about having sex

with Plaintiff, but she later claimed that she remembered touching Plaintiff’s necklace while they

were having sex. (Id.) Despite these inconsistencies, Kwiatkowski failed to include any reference

to the December 2016 statement in his investigation report. (Id. at ¶ 12)

              Plaintiff, however, did not receive any detail regarding the December 2016 allegations until

after the hearing when he was able to view his educational file through a request under FERPA.7

(Id. at ¶ 129) In fact, prior to the hearing date, Defendants only permitted Plaintiff one hour to

review two investigative interviews of Roe, ten (10) witness statements, and other evidence; and

he could not copy, take photos of, or record the documents in any way. (Id. at ¶ 130) The material

Plaintiff could review did not contain a copy of the Investigative Report or any statements from

Roe or the RA regarding the allegations made by Roe in December 2016. (Id. at ¶ 131) On or about

August 3, 2017, Plaintiff asked if any additional witness statements had been taken since his review


                                                            
6
  Roe was the only witness with first-hand knowledge who testified that anyone went to a party
that night. In fact, Plaintiff, Roommate, and W2 all denied attending any party. (Id. at ¶ 153)
7
  However, per current Aquinas policy, “In the event a matter is scheduled for hearing, the parties
will be provided reasonable opportunity to review statements and evidence as provided in the
General Provisions in preparation for the hearing.” (Id. at ¶ 165)
                                                               8
 
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on July 26th. (Id. at ¶ 132) He was then informed that there were two more interviews with

witnesses and that he could review them in-person prior to the hearing. (Id.) On the same date,

Plaintiff made his second request to review a copy of the Investigative Report and any

documentation regarding the initial allegations by Roe to the College in December 2016. (Id. at ¶

133) Access to both was again denied. (Id.) On or about August 8, 2017, Plaintiff reviewed the

two additional witness statements. (Id. at ¶ 134) In addition to the new witness statements, there

was a copy of a screenshot of Roe’s phone showing a “missed call” from Plaintiff on March 24,

20178 and a copy of a prescription medication list supplied by Roe.9 (Id.)

              From what Plaintiff could review of the evidence, it became clear that Roe was the only

witness with first-hand knowledge who provided details leading to Kwiatkowski’s conclusion.

First, Roommate’s statement to Aquinas corroborated much of Plaintiff’s version of the events.

(Id. at ¶ 137) According to Roommate, she left to go to her boyfriend’s because she thought that

Roe was interested in Plaintiff and that she thought they would likely have sex; she did not want

to be in the room when it happened. (Id. at ¶ 138) She admitted that Roe was flirting with Plaintiff.

(Id. at ¶ 139) She also stated that Roe was capable of saying “no” if she did not want to have sex

with Plaintiff that night. (Id. at ¶ 140) Roommate told Kwiatkowski that Roe was not proud of

what happened and regretted having sex with Plaintiff but did not tell her that she was sexually

assaulted. (Id. at ¶ 141) Roommate did not recall seeing any bruising on Roe on August 20, 2016.



                                                            
8
  This screenshot was the only evidence presented that Plaintiff had attempted to contact Roe after
September 2016, but Plaintiff’s phone records show he did not make this call. (Id. at ¶ 176)
9
  Although not referred to, or referenced in any of the interviews with Roe, the prescription list for
the “date of service” of August 27, 2016 (eight days after the alleged assault) showed a prescription
for Citalopram, an anti-depressant. When asked at the hearing if this prescription was a refill, Roe’s
answer was “yes”. (Id. at ¶ 135) The prescription list also showed a prescription for Microgestin
1/20, a monthly birth control prescription. (Id. at ¶ 136) Roe stated in her second interview with
Kwiatkowski that she had been on a three-month birth control prescription in August 2016. (Id.)
                                                               9
 
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(Id. at ¶ 142) Finally, according to Roommate, she and Roe discussed details of the sexual relations

between Roe and Plaintiff on August 20, 2016, including that Roe and Plaintiff had sex multiple

times that night and the size of Plaintiff’s penis. (Id. at ¶ 143)

        According to W2’s statement, Roe was capable of walking on her own and was not too

drunk to function. (Id. at ¶ 145) Statements from Roe’s suitemates confirm that they both recalled

Roe being coherent and with Plaintiff on the night of August 19th when one asked Roe if she could

use the shower. (Id. at ¶ 151) Both suitemates witnessed Roe and Plaintiff alone above the covers

and dressed. (Id.) Roe made no verbal or non-verbal indication that she wanted to leave or that she

wanted Plaintiff to leave. (Id.) Plaintiff also found witness statements from multiple individuals

who were not with Roe or Plaintiff that night, several of which, including Roe’s boyfriend at the

time of the investigation, relied solely on hearsay. (Id. at ¶ 146) In regard to the harassment charges

involving an alleged topless photograph that Roe claimed Plaintiff had of her, of the twelve (12)

witnesses interviewed, only one claimed to have seen the photo. And when asked to describe it,

the witness’ description made it clear that the photo was not of Roe. (Id. at ¶ 157)

        Troublingly, one of the hearsay statements contained a redacted paragraph. (Id. at ¶ 147)

Plaintiff was denied an opportunity to review an unredacted copy of this statement. (Id. at ¶ 148)

On information and belief, the unredacted copy contained a reference to a different sexual

encounter, which on information and belief, was supplied to the Judicial Hearing Board (“JHB” or

“Board”). (Id. at ¶ 149) Under Aquinas’ policy, however, Plaintiff had a right to not have his

irrelevant past conduct, including sexual history, considered in the JHB’s decision. (Id. at ¶ 150)

D.      Aquinas Expels Plaintiff Following Sham Hearing

        The hearing took place on or about August 8, 2017. (Id. ¶ 163) As discussed above, Plaintiff

was not given the opportunity to respond to any of the findings of the Investigative Report prior to



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the hearing as he was denied access to it. (Id. at ¶ 161) The JHB was composed of Defendants

Sandy Harley, Thad Salter, and Heather Quakenbush. (Id. at ¶ 31) But Defendants did not disclose

the identity of the JHB Members prior to the hearing. (Id. at ¶ 164)

        Aquinas policy states, “The complainant has the right to be visibly shielded from the view

of the accused during the hearing.” (Id. at ¶ 167) Here, Aquinas placed a curtain between Plaintiff

and Roe so that Plaintiff and Roe could not see each other. (Id. at ¶ 168) Aquinas policy also states:

        The complainant and accused may only ask questions to each other through a
        member of the Judicial Hearing Board, unless they consent to direct questioning by
        each other. The Judicial Hearing Board shall have control of the hearing, and may
        make such procedural rulings as it deems necessary to assure the fairness and
        efficiency of the proceedings. This may include extending the hearing to allow
        other identified witnesses to testify.

(Id. at ¶ 169) As Roe did not consent to direct questioning, Plaintiff had no opportunity to directly

cross-examine her or any other witness, or to engage in discovery. (Id. at ¶ 170) Furthermore, no

transcript was made of the hearing testimony. (Id. at ¶ 171)

        The hearing was scheduled to last an hour total, but the JHB limited it to fifty (50) minutes

without explanation. (Id. at ¶ 172) Even before Plaintiff spoke, he could tell that the Judicial

Hearing Board would find him responsible. (Id. at ¶ 180) The Board was uninterested in the

polygraph results, and only one Board member took notes. (Id. at ¶ 181) The Board did not have

any of the eye-witnesses interviewed by Kwiatkowski provide live testimony and, on information

and belief, relied solely upon Kwiatkowski’s Investigative Report and findings, despite being

instructed not to. (Id. at ¶ 182)

        At the beginning of the hearing, Plaintiff was given an opportunity to read a prepared

statement in which he denied, and continues to deny, the allegations made against him. (Id. at ¶

173) In his statement, Plaintiff raised the concerns with Roe’s accusations as outlined above. (Id.)

Roe chose not to give a statement. (Id. at ¶ 174) She only answered the questions the Board posed

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to her. (Id.) The Board only asked Plaintiff three to five questions. (Id. at ¶ 178) One of the

questions was whether Plaintiff ever referred to Roe as his “trophy girl.” (Id. at ¶ 179) His response

was “no.” (Id.) During questioning, Roe admitted that Plaintiff had not talked to her throughout

2017 and only presented the screenshot showing a missed call from Plaintiff in March 2017

discussed above, which is at odds with Plaintiff’s phone records. (Id. at ¶¶ 175-76) When asked

by the Board about her conversation with her roommate the next morning, Roe did not deny talking

about having sex with Plaintiff, or the size of Plaintiff’s penis, but instead stated she “did not mean

it in a complimentary way.” (Id. at ¶ 177) She did not say that she did not remember having sex or

had “blacked out.” (Id.)

              On or about August 14, 2017, Plaintiff received notice that he had been found responsible

of sexual assault and behavioral misconduct and harassment by a preponderance of the evidence

standard. (Id. at ¶ 183) As a result, Plaintiff was expelled from Aquinas College. (Id. at ¶ 184) The

Board provided no rationale for its decision, and Aquinas refused to disclose the rationale or if the

decision was unanimous. (Id. at ¶ 185) In reality, the Board reached an erroneous conclusion based

solely on Plaintiff’s gender and Kwiatkowski’s gender-biased report, in direct violation of

Aquinas’ policies and Title IX. (Id. at ¶¶ 186, 196)

E.            Plaintiff’s Appeals Are Wrongly Denied

              On or about August 19, 2017, Plaintiff appealed the decision to Defendant, Provost Stephen

Barrows.10 (Id. at ¶ 187) The basis of the appeal was that there was not a preponderance of the

evidence showing he committed the offenses alleged against him; that he was given inadequate


                                                            
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  Defendants attached Plaintiff’s appeal letters to Defendant Barrows and Defendant Quinn in a
heavily redacted form. While Plaintiff is sensitive to complying with FERPA and protecting the
identities of those involved in this matter given the subject of this litigation, Plaintiff requests that
the Court review the records in an unredacted form, either through in camera review or filing under
seal through protective order.
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opportunity to defend himself; and the expulsion was too severe a penalty. (Id. at ¶ 188) Plaintiff

also pointed out that he had never received a copy of the December 2016 complaint and the

Investigative Report. (Id. at ¶ 189) On or about August 30, 2017, Plaintiff received notice that the

appeal was denied. (Id. at ¶ 190) Provost Barrows determined that it was not erroneous for the

Judicial Hearing Board to fail to consider Roe’s complaint in December 2016, reasoning that her

2016 Statement was a “pre-process” document prepared by a Resident Advisor (“RA”). (Id. at ¶

191) He did not explain how a prior inconsistent statement by Roe would be irrelevant when

determining her credibility. (Id. at ¶ 192) He did not comment at all about Plaintiff being denied

access to the Investigative Report prior to the hearing.11 (Id. at ¶ 193)

              Once Plaintiff was able to review Kwiatkowski’s Investigative Report, he appealed the

Provost’s decision to Defendant, President Kevin Quinn, on or about December 22, 2017. (Id. at ¶

198) Plaintiff raised the same issues listed above in his appeal. (Id. at ¶ 199) Like Provost Barrows,

President Quinn denied the appeal on or about February 22, 2018. (Id. at ¶ 200) President Quinn

did not provide a rationale for his conclusions. (Id. at ¶ 201) As a result, Plaintiff filed the instant

action.

                                                               STANDARD OF REVIEW

              A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the legal

sufficiency of the complaint.12 RMI Titanium Co. v. Westinghouse Elec., 78 F.3d 1125, 1134 (6th


                                                            
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   It was after this appeal that Plaintiff was finally able to review Kwiatkowski’s Investigative
Report, including Kwiatkowski’s erroneous conclusion that there was sufficient evidence to
conclude that Roe was unable to provide consent based on the amount of alcohol she allegedly
consumed. (Id. at ¶ 194) 
12
   Defendants bring their “Motion to Dismiss” under Fed. R. Civ. P. 12(b), not Fed. R. Civ. P. 56.
As such, the Court should disregard any extraneous evidence submitted by Defendants. See
Ashcroft v. Iqbal, 556 U.S. 662 (2009). And to the extent the Court exercises its discretion under
Fed. R. Civ. P. 12(d) to consider such evidence and treat Defendants’ defective motion as a Motion
for Summary Judgment, Plaintiff “must be given a reasonable opportunity to present all the
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Cir. 1996). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’”13 Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 555, 570 (2007)). In

deciding whether the plaintiff has set forth a “plausible” claim, the court must accept the factual

allegations in the complaint as true. Erickson v. Pardus, 551 U.S. 89, 94 (2007). “If it is at all

plausible (beyond a wing and a prayer) that a plaintiff would succeed if he proved everything in

his complaint, the case proceeds.” Doe v. Baum, 2018 U.S. App. LEXIS 25404, at *9 (6th Cir.

Sept. 7, 2018).

                                                               ARGUMENT

A.            Title IX

              1.             Plaintiff Has Pled Sufficient Facts to State a Claim for Gender Discrimination
                             Under Title IX Pursuant to Cummins and Its Progeny

              In Doe v. Cummins, 662 Fed Appx. 437, 451 (6th Cir. 2016), the Sixth Circuit recognized

claims under Title IX for erroneous outcome. “A successful ‘erroneous outcome’ claim requires

the plaintiff to show that the outcome of the University’s disciplinary proceeding was erroneous

because of sex bias.” Id. at 452 (internal quotes omitted). “[T]o state an erroneous-outcome claim,

a plaintiff must plead: (1) ‘facts sufficient to cast some articulable doubt on the accuracy of the

outcome of the disciplinary proceeding’ and (2) a ‘particularized . . . causal connection between

the flawed outcome and gender bias.’” Id. (quoting Yusuf v. Vassar College, 35 F.3d 709, 715 (2d


                                                            
material that is pertinent to the motion.” Id. This case is still in the pleading stage, and no discovery
has been conducted by either party. Moreover, to the extent that this Court considers extraneous
evidence under Weiner v. Klais and Co., Inc., 108 F.3d 86, 89 (6th Cir. 1997), without converting
Defendants’ Motion to one for Summary Judgment, it must be careful to accept the factual
allegations in the complaint as true. Iqbal, supra.
13
   Even if this Court finds that Plaintiff failed to plead plausible claims, Plaintiff should be
permitted to file a curative amendment at this early stage of litigation. Brown v. Matauszak, 415
F. App’x 608 (6th Cir. 2011).
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Cir. 1994)). Plaintiff, here, has pled sufficient facts to meet both elements.

       First, there are numerous facts that cast doubt on the accuracy of the outcome of the

disciplinary proceeding.

       [T]he pleading burden in this regard is not heavy. For example, a complaint may
       allege particular evidentiary weaknesses behind the finding of an offense such as a
       motive to lie on the part of a complainant or witnesses, particularized strengths of
       the defense, or other reason to doubt the veracity of the charge. A complaint may
       also allege particular procedural flaws affecting the proof.

Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994) (emphasis added).

       Plaintiff has pled numerous facts regarding the evidentiary weaknesses in Defendants’

findings. Roe’s own description of the events of August 19th are inconsistent, both with other

witness statements and with her own statements given at different points in time. The JHB made

no effort to explain how they found Roe credible despite her memory somehow becoming better

over time. Initially, Roe could not recall how much alcohol she consumed but later claimed she

had at least three shots before drinking out of the bottle. (Id. at ¶ 152) She also alleged that she

was carried at some point but could not recall who it was but then alleged that Plaintiff carried her.

(Id.) Roe also stated she could not recall what happened after returning to the dormitory but later

recalled going to the dorm room with Roommate, Roommate leaving for her boyfriend’s, and

Plaintiff getting into bed with her. (Id.) She also later claimed that she remembered touching

Plaintiff’s necklace during sex despite initially saying she was “blackout” drunk. (Id.)

       In Doe v. Miami Univ., 882 F.3d 579, 593 (6th Cir. 2018), the Sixth Circuit held “At the

motion-to-dismiss stage, where all reasonable inferences must be drawn in favor of the plaintiff,

the unresolved inconsistency in Jane’s statement, the unexplained discrepancy in the hearing

panel’s finding of fact, and the alleged use of an erroneous definition of consent creates ‘some

articulable doubt’ as the accuracy of the decision.” The female accuser in Miami Univ. claimed



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she initially agreed to digital penetration, but at some point told the accused to stop. Id. at 592. He

did, but then asked if he could engage in oral sex. Id. The accuser claimed that she said no, he

proceeded anyway, and then she pushed him away without saying, “no.” Id. The hearing panel

found that the accuser said no, but the accused continued anyway. Id. The Sixth Circuit found that

the accuser’s statement was inconsistent in that she said she said “no” and later said that she “never

said no.” Id. According to the court, it was sufficient for an erroneous outcome claim that the

hearing panel did nothing to resolve the inconsistency or “elucidate why it found the oral sex to be

non-consensual when it appears to have found that the digital penetration was consensual.” Id.

              The error here is even more severe. The JHB provided no explanation for its findings at

all. (Compl. at ¶¶ 231-32) It simply stated that Plaintiff was responsible under a “preponderance

of the evidence” standard. (Id. at ¶ 231) Yet, the regulations to Title IX state, “the result must also

include the rationale for the result and the sanctions.” 34 C.F.R. § 668.46(k)(3)(iv). Unlike in

Miami Univ., 882 F.3d at 592, where the accused could not even recall the critical events in

question, Plaintiff here credibly gave statements that he engaged in consensual sex with Roe,

(Compl. at ¶ 173). He even submitted a polygraph report, bolstering the truthfulness of his adamant

denials. (Id. at ¶¶ 111-14) Statements from witnesses actually present only further corroborated

Plaintiff’s version of the events and discredited Roe’s. (Id. at ¶¶ 137-57) But the JHB still

determined Roe was more credible without providing an explanation for its determination.

              In addition to the evidence Defendants ignored, Plaintiff sufficiently pled procedural

defects in Defendants’ investigation and hearing.14 Here, Plaintiff has pled that Kwiatkowski, the


                                                            
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  Under Title IX, 20 U.S.C. § 1092(f)(8)(B)(iv), “Procedures for institutional disciplinary action
in cases of alleged domestic violence, dating violence, sexual assault, or stalking, which shall
include a clear statement that such proceedings shall provide a prompt, fair, and impartial
investigation and resolution . . . .” Furthermore, in part, the Obama-era regulations for Title IX
further clarify, that “a prompt, fair, and impartial proceeding includes a proceeding that is
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College’s Director of Campus Safety, conducted a biased and deficient investigation. In particular,

he failed to follow Aquinas’ own policies in including conclusions in his report. (Compl. at ¶¶

118-23) He also failed to include Roe’s inconsistent December 2016 statement in his report,

despite his knowledge of the statement. (Id. at ¶¶ 12, 124-25) And the investigation report

contained a redacted witness statement that on information and belief was unredacted when

supplied to the JHB and contained information that the JHB was not permitted to consider in its

decision. (Id. at ¶¶ 147-50) Finally, the failure to allow cross-examination invalidates the process.

See Doe v. Baum, 2018 U.S. App. LEXIS 25404, at *21 (6th Cir. Sept. 7, 2018). Plaintiff made

the same allegation as in Baum. (Compl. at ¶¶ 170, 173) Therefore, Plaintiff has pled sufficient

facts to meet the first element.

              Second, Plaintiff has sufficiently pled gender bias. “Requiring that a male student

conclusively demonstrate, at the pleading stage, with statistical evidence and/or data analysis that

female students accused of sexual assault were treated differently, is both practically impossible

and inconsistent with the standard used in other discrimination contexts.” Doe v. Brown Univ., 166

F. Supp. 3d 177, 189 (R.I.D.C. 2016). Thus, sufficient allegations “might include, inter alia,

statements by members of the disciplinary tribunal, statements by pertinent university officials, or

patterns of decision-making that also tend to show the influence of gender.” Miami Univ., 882 F.3d

at 593 (internal quotation marks omitted). For example, in Baum, 2018 U.S. App. LEXIS 25404,

at *22-24, the Sixth Circuit held that it was sufficient to plead external pressure to punish males

with evidence that the hearing body discredited all males, including the accused, and credited all


                                                            
conducted in a manner that is consistent with the institution’s policies and transparent to the
accuser and accused; provides timely and equal access to the accuser, the accused, and appropriate
officials to any information that will be used during informal and formal disciplinary meetings and
hearings; and conducted by officials who do not have a conflict of interest or bias for or against
the accuser or the accused.” 34 C.F.R. § 668.46(k)(3)(i).
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females:

        When viewing this evidence in the light most favorable to Doe, as we must, one
        plausible explanation is that the Board discredited all males, including Doe, and
        credited all females, including Roe, because of gender bias. And so this specific
        allegation of adjudicator bias, combined with the external pressure facing the
        university, makes Doe’s claim plausible. Indeed, other courts facing similar
        allegations have reached the same result. See, e.g., Miami Univ., 882 F.3d at 594
        (plaintiff’s complaint was sufficient where allegations included that the university
        faced “pressure from the government to combat vigorously sexual assault on
        college campuses and the severe potential punishment—loss of all federal funds—
        if it failed to comply”); Doe v. Columbia Univ., 831 F.3d 46, 56-57 (2d Cir. 2016)
        (plaintiff’s complaint pointing to student group criticism and university statements
        was sufficient to raise a plausible inference of bias under a “minimal plausible
        inference” standard); Doe v. Amherst Coll., 238 F. Supp. 3d 195, 223 (D. Mass.
        2017) (plaintiff’s complaint was sufficient where allegations suggested that
        university was trying to “appease” a biased, student-led movement); Doe v. Lynn
        Univ., Inc., 235 F. Supp. 3d 1336, 1340-42 (S.D. Fla. 2017) (plaintiff’s complaint
        was sufficient where allegations suggested that university was reacting to “pressure
        from the public and the parents of female students” to punish males accused of
        sexual misconduct); Wells v. Xavier Univ., 7 F. Supp. 3d 746, 751 (S.D. Ohio 2014)
        (plaintiff’s complaint was sufficient where, taken together, his allegations
        suggested that university was “reacting against him[] as a male” in response to a
        Department of Education investigation).

        Here, Plaintiff has pled:

       From the outset, the investigation was slanted in favor of the female complainant;

       The investigator, Kwiatkowski, conducted his investigation and used investigative
        techniques in a manner designed to attempt to credit the female complainant’s
        version of events and to discredit the male respondent’s version of events;

       Kwiatkowski admitted to Plaintiff’s parents that he believed women do not make
        allegations of sexual assault unless they are true;

       On information and belief, Kwiatkowski failed to disclose his bias and prior
        acquaintance with Roe’s mother;

       Kwiatkowski failed to account for Roe’s December 2016 statement and ignored
        Roe’s inconsistent statements;

       Kwiatkowski ignored witness statements that credited Plaintiff’s account of the
        events and discredited Roe’s accounts of the events;




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             Kwiatkowski accepted the complainant’s statements at face value, despite the lack
              of corroboration for many of her assertions and the inconsistent statements she had
              made;

             In contravention of Aquinas’s policies, Kwiatkowski provided the JHB with his
              own conclusions, including that there was allegedly a preponderance of the
              evidence to show that Plaintiff sexually assaulted Roe; and

             The JHB, Provost, and President reached a final decision that was directly at odds
              with the reliable and credible evidence they had, and at odds with Aquinas’s
              policies concerning consent and incapacitation. The explanation for their
              determination is bias against Plaintiff, a male student.

(Compl. at ¶ 234 (emphasis added)) Moreover, Plaintiff pled that the procedures and policies

followed by Aquinas are themselves gender biased. (Id. at ¶¶ 235-40)

              Plaintiff also pled facts regarding the pressure on Aquinas to punish accused males and

believe female accusers. Specifically, Plaintiff pled that Kwiatkowski stated to Plaintiff’s parents

that it has been his experience that “women do not make these allegations unless they are true.”

(Id. at ¶ 204) Furthermore, upon information and belief, one of the members of the JHB, Sandy

Farley, was previously employed from 1997-1999 by R.A.V.E., a support group predominately for

women against domestic violence and sexual assault. (Id. at ¶ 205) Plaintiff also noted the pressure

from the Office of Civil Rights regarding sexual misconduct prior to September 2017. (Id. at ¶

212) Such facts are sufficient to state claim for erroneous outcome under Title IX.15 See Doe v.

Syracuse Univ., 2018 U.S. Dist. LEXIS 157586, *31-32 (N.D.N.Y. Sept. 16, 2018) (“Doe . . . has

coupled his factual allegations with the allegations of public pressure on the University to more

aggressively prosecute sexual abuse allegations.”).

              2.             Defendants Incorrectly Proffer an Exhaustion Requirement for Title IX that
                             Does Not Exist Under the Law

                                                            
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   Should the Court hold these pleadings insufficient, Plaintiff could amend his complaint to
include allegations regarding campus events at Aquinas designed to put the spotlight on the impact
of violence and sexual assault against women. See, e.g. https://www.mlive.com/news/grand-
rapids/index.ssf/2009/03/aquinas_college_students_jane.html.
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       Defendants, at great length, discuss the Title IX deliberate indifference standard articulated

in Gebser v. Lago Vista Independent School District, 524 U.S. 274 (1998). Gebser, however, has

no bearing on this matter. In a recently issued opinion, the Sixth Circuit explicitly held that

deliberate indifference claims do not “appl[y] in the context of university disciplinary

proceedings.” Doe v. Baum, 2018 U.S. App. LEXIS 25404, at *26-27 (6th Cir. Sept. 7, 2018). The

Sixth Circuit again recognized that the deliberate indifference standard only applies in sexual

harassment cases. Id. at 27. It is simply a different standard from claims regarding a biased

disciplinary process. Id.; cf. Doe v. Trs. of Bos. Coll., 892 F.3d 67, 90 (1st Cir. 2018) (“Neither the

Supreme Court nor this Circuit have adopted a framework for analyzing claims by students

challenging a university’s disciplinary procedures as discriminatory under Title IX.”).

B.     Breach of Contract and Promissory Estoppel

       “Generally . . . the relationship between a student and a private university is contractual in

nature. Accordingly, a student may raise breach of contract claims arising from a university’s

alleged failure to comply with its rules governing disciplinary proceedings.” Anderson v.

Vanderbilt Univ., 450 F. App’x 500, 502 (6th Cir. 2011) (internal citations omitted). “In reviewing

a student’s breach of contract claim against his or her university, we employ a reasonable

expectations standard in interpreting the relevant contracts.” Doe v. Trs. of Bos. Coll., 892 F.3d

67, 80 (1st Cir. 2018). “In the context of disciplinary hearings, we ‘review the procedures followed

to ensure that they fall within the range of reasonable expectations of one reading the relevant

rules.’” Id. (quoting Cloud v. Trs. of Bos. Univ., 720 F.2d 721, 724-25 (1st Cir. 1983)). This makes

sense given the nature of the relationship. Private colleges are not held to the strictures of the

Constitution. See Giles v. Howard University, 428 F. Supp. 603, 604 (D.C.D.C. 1977). Thus,

private colleges must provide students, who pay significant amounts for tuition, room, and board,



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reasonably fair disciplinary procedures to prevent unwarranted expulsions. Otherwise, colleges

could pocket large amounts from students and expel them without the student having recourse.

              The Sixth Circuit has recognized a cause of action for breach of contract where colleges

fail to follow their own policies in a manner that falls outside the reasonable range of expectations

of one reading the relevant rules and policies.16 See Faparusi v. Case W. Reserve Univ., 2017 U.S.

App. LEXIS 19593, at *17-19 (6th Cir. Oct. 4, 2017); Finch v. Xavier Univ., 689 F. Supp. 2d 955,

968-69 (S.D. Ohio 2010). Moreover, courts within the Sixth Circuit have recognized, “Public

policy dictates that every contract contain an implied duty for the parties to act in good faith and

to deal fairly with each other. Any agreement . . . has an implied covenant of good faith and fair

dealing that requires not only honesty but also reasonableness in the enforcement of the contract.”

Florence Urgent Care v. Healthspan, Inc., 445 F. Supp. 2d 871, 879 (S.D. Ohio 2006) (internal

citations omitted). See also, See Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 593 (Mass. D.C.

2016) (“‘The student-college relationship is essentially contractual in nature. The terms of the

contract may include statements provided in student manuals and registration materials.’”)

(quoting Mangla v. Brown Univ., 135 F.3d 80, 83 (1st Cir. 1998)); Doe v. Brown Univ., 166 F.

Supp. 3d 177, 191 (R.I.D.C. 2016) (“The relevant terms of the contractual relationship between a

student and a university typically include language found in the university’s student handbook.”);

Yu v. Vassar Coll., 97 F. Supp. 3d 448, 481 (S.D.N.Y.) (“A college is ‘contractually bound to

provide students with the procedural safeguards that it has promised.’”) (quoting Fellheimer v.

Middlebury Coll., 869 F. Supp. 238, 243 (D. Vt. 1994)).

              Michigan courts “have rejected a rigid application of contract law in the area of student-


                                                            
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  While Defendants claim that tuition payments themselves cannot constitute a “contract,” if
necessary, Plaintiff can amend his complaint to include that his written student housing contract
specifically incorporated the student conduct code, which includes its policies on sexual assault.
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university relationships.” Tapp v. Western Michigan, 1999 Mich. App. LEXIS 2832, at *7-8

(Mich. Ct. App. December 28, 1999). They have also recognized some contractual right to

continued enrollment. In Carlton v. Trustees of the Univ. of Detroit Mercy, 2002 Mich. App.

LEXIS 512, at *7 (Mich. Ct. App. April 9, 2002), the Michigan Court of Appeals recognized, “The

United States Supreme Court has held that a student who has been accepted to a university has an

implied contractual right to continued enrollment in that university. This implied contractual right

gives the student the right to continued enrollment free from arbitrary dismissal.” (citing Regents

of the University of Michigan v Ewing, 474 U.S. 214, 223 (1985)). Even more, Michigan courts

have recognized that a material breach is determined based on “the nature and terms of the contract,

the duties and obligations placed upon the parties, the relationship of the parties, the course of

dealing between the parties, the nature and extent of the breach, the hardship caused, and any bad

faith of the breaching party.” Medical Planning Consulting, Inc. v. St. Mary’s Med. Ctr., 2000

Mich. App. LEXIS 646, at *12 (Mich. App. Ct. June 13, 2000). As described above, the

fundamental unfairness of allowing a private college to circumvent its own procedures in

disciplinary proceedings, leads to such a violation being a material breach of contract.

       Plaintiff, here, has pled sufficient facts that Defendants’ decision to expel him was both a

breach of his contractual right to a reasonable fair disciplinary process and was arbitrary and

capricious. In fact, Defendants’ policies explicitly provide that students will receive due process

in disciplinary proceedings. Yet, as discussed above, because Defendants failed to provide a

justification for their determination, it was arbitrary. (Compl. at ¶¶ 231-32) Further, because

Plaintiff could not cross-examine witnesses, the JHB’s decision to credit Roe’s statement over

Plaintiff’s was arbitrary. “The ability to cross-examine is most critical when the issue is the

credibility of the accuser.” Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 605 (D. Mass. 2016).



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“Evaluation of a witness’s credibility cannot be had without some form of presence, some method

of compelling a witness ‘to stand face to face with the [fact finder] in order that it may look at him,

and judge by his demeanor upon the stand and the manner in which he gives his testimony whether

he is worthy of belief.’” Doe v. Univ. of Cincinnati, 872 F.3d 393, 402 (6th Cir. 2017) (quoting

Mattox v. United States, 156 U.S. 237, 242-43 (1895)). Thus, the Sixth Circuit has held, “cross-

examination is ‘essential to due process’ . . . where the finder of fact must choose ‘between

believing an accuser and an accused.’” Id. at 405 (quoting Flaim v. Med. Coll. of Ohio, 418 F.3d

629, 641 (6th Cir. 2005)) (emphasis added). Since Univ. of Cincinnati, courts in the Sixth Circuit

have continued to hold that cross-examination is critical to these types of disciplinary proceedings.

See, e.g., Univ. of Miami, supra; Doe v. Ohio State Univ., 311 F. Supp. 3d 881 (S.D. Ohio 2018).

Recently, the Sixth Circuit held that due process requires cross-examination by the accused or the

accused’s representative. Baum, supra. Defendants’ policy preventing Plaintiff from cross-

examining Roe is in breach of Defendants’ contractual promise of providing a non-arbitrary

decision when expelling a student.

              Defendants, however, claim that no such cause of action exists under Michigan law. See

Harris v. Mott Cmty. College, 2014 Mich. App. LEXIS 583, at *13 (Mich. Ct. App. April 1, 2014)

(“This Court has declined to find that a student handbook creates a contract, express or implied,

between universities and students.”17). Michigan cases, however, have not involved the material


                                                            
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   The cases Harris relied on to reach this conclusion have distinguishable holdings. In Cuddihy v
Wayne State Univ Bd of Governors, 163 Mich App 153, 156-58 (1987), the Michigan Court of
Appeals held that the plaintiff could not rely on a statement from an academic advisor regarding
the date she would complete her degree to create an enforceable contract or promise. And in Kieta
v. Thomas M. Cooley Law Sch., 290 Mich. App. 144, 148, n.3 (2010), the Michigan Court of
Appeals held that a student honor code could not create a contract, but that statement was in dicta
and relied exclusively on Cuddihy. In fact, in Kieta, the trial court specifically “allowed plaintiff
to amend her complaint to raise claims of breach of contract and arbitrary and capricious conduct,”
but her appeal was ultimately dismissed as moot. Id. at 145-46.
                                                               23
 
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breach at issue here. For example, in Schnurer v. Bd. of Control of Northern Michigan Univ., 1998

Mich. App. LEXIS 766, at *9-10 (Mich. App. Ct. Nov. 13, 1998), the Michigan Court of Appeals

held that plaintiff failed to support a breach of contract claim relating to keeping sidewalks clear

of snow where the university had not given the plaintiff any information that could have given her

the impression that the university was guaranteeing her safety on campus. Thus, this case is

significantly different from those relied upon by Defendants.

C.     Negligence/Negligence Per Se/Gross Negligence

       Even if there is no contractual right to school handbook codes, the policies create a duty

Defendants must follow under a negligence standard. Thus, Plaintiff’s negligence claims are

alternative to his breach of contract claims. See Roberts v. Auto-Owners Ins. Co., 422 Mich. 594,

603 (1985) (“[I]n a contractual setting, a tort action must rest on a breach of duty distinct from

contract.”). In Michigan, “The elements of an action for negligence are (i) duty, (ii) general

standard of care, (iii) specific standard of care, (iv) cause in fact, (v) legal or proximate cause, and

(vi) damage.” Moning v. Alfono, 400 Mich. 425, 437 (1977). “’Duty’ comprehends whether the

defendant is under any obligation to the plaintiff to avoid negligent conduct; it does not include --

where there is an obligation -- the nature of the obligation: the general standard of care and the

specific standard of care.” Id. “Duty is essentially a question of whether the relationship between

the actor and the injured person gives rise to any legal obligation on the actor’s part for the benefit

of the injured person.” Id. at 438-39. As it was foreseeable that a disciplinary proceeding could

occur regarding student conduct (evidenced by the existing of Aquinas’ policies), they owed some

duty to Plaintiff regarding those proceedings.

       Courts within the Sixth Circuit have recognized the general duty owed to students in the

university disciplinary process given the far-reaching and damaging implications that result from



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a finding of responsible. For example, in one case, the Eastern District of Tennessee held:

       [I]n this case a jury could find that the harm caused by the University’s allegedly
       and arguably haphazard implementation of its own Sexual Assault Policies was
       foreseeable, especially where here, as there, the harm was severe: a wrongful
       conviction by a disciplinary committee.

Doe v. Univ. of S., 2011 WL 1258104, at *21 (E.D. Tenn. Mar. 31, 2011). See also, Doe v. Univ.

of St. Thomas, 2017 WL 811905, at *9 (D. Minn. Mar. 1, 2017) (upholding Plaintiff’s claim for

negligence and noting there are some instances where a special relationship between a student and

a college or university creates a duty of care).

       As pled in Plaintiff’s complaint, Defendants were grossly negligent in their disregard of

following their own policies, causing Plaintiff to be expelled from school. (Compl. ¶¶ 286-90) This

included not only Aquinas College but the individually-named Defendants. (Id.) As such, Plaintiff

has successfully pled claims regarding Defendants’ negligence, and Defendants’ Motion to

Dismiss those claims should be denied.

                                          CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that this Court DENY Defendants’

Motion to Dismiss in its entirety.

                                                        Respectfully Submitted,

                                                        /s/ David A. Nacht________
                                                        David A. Nacht (P47034)
                                                        Adam M. Taub (P78334)
                                                        NACHTLAW, P.C.
Date: September 21, 2018                                Attorneys for Plaintiff

                                       PROOF OF SERVICE
         I hereby certify that on September 21, 2018, I electronically filed the foregoing pleading
with the Clerk of the Court using the ECF system which will send notification of such filing to
all of the attorneys of record.

                                                        /s/ Karina Alvarez
                                                        Karina Alvarez, Litigation Secretary

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